       Case: 1:07-cv-01314 Document #: 32 Filed: 11/27/07 Page 1 of 1 PageID #:87
AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 Richard Ermoian                                           JUDGMENT IN A CIVIL CASE
                      v.                                              Case Number: 07 C 1314
 LaSalle Capital LLC

 G          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 G          Decision by Court. This action came to trial or hearing before the Court. The issues
            have been tried or heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that final judgment is entered dismissing this
 action with prejudice pursuant to Fed. R. Civ. P. 58.




                                                  Michael W. Dobbins, Clerk of Court


 Date: 11/27/2007                                 ________________________________
                                                  /s/ Sandy Newland, Deputy Clerk
